Case 4:20-cv-03664-YGR Document 1031-7 Filed 10/17/23 Page 1 of 5




                      EXHIBIT 3
                        Case 4:20-cv-03664-YGR Document 1031-7 Filed 10/17/23 Page 2 of 5




Chrome Privacy                                                                                                                                             Commented [1): Thanks for sharing Ramin I If I might
                                                                                                                                                       1
                                                                                                                                                           ask, what is the purpose of this doc and who is the
                                                                                                                                                           audience?
                                                                             Author: rhalavat1@                                         /


                                           Sto ryl                           Status: WI P
                                                           - - - - - - - - - lcast-lJpdate: W-28-82-1-0- - - - - - - - - - - - - - - 1
                                                                                                                                       __




Incognito and Cookies
                                                                                                                                                      :t
Websites need to keep data about you, to be able to customize their services to you.                                                              ;;

On websites that you sign-in, the websites can keep this data on their own servers, so after you sign-in and tell them                       :}
                                                                                                                                             1



who you are, they will fetch the data and continue giving you services based on that. Like when you sign into your                    ,:,    1
                                                                                                                                                 );




social media and see your own page.                                                                                                              1


                                                                                                                                             1
                                                                                                                                        11

                                                                                                                                             1

But on websites that you don't sign-in, they keep this data locally and on your computer and the next time you visit the
website, they use it from there. Like if you go to a train booking website and enter a source and destination to check )1{ /
for tickets, the website may save this data on your computer and next time you visit it, it will give you a faster service ;, 1 1
                                                                                                                              /    f I
for this possible trip. A generic name for this data that websites store on your computer is cookie. Even websites that ,; //
you sign into them may sometimes store cookies on your computer, to give you faster services next time you return, ;1 11 /
or keep you signed in.                                                                                                     , ' ; 11
                                                                                                                                    I1r11

[Incognito mode comes in handy, when you don't want this information to be available to a website. ~~e_miv_e~ yo_u}
open an incognito session (read more about what session is in the next section), your browsing experience starts with I
                                                                                                                      1                                                                          ... " Since IP
an empty cookie jar, therefore the websites will not have any memory of what you have done before.                      ,,
                                                                                                                       :1                                                 ften household-level, I feel we may be
                                                                                                                                     ,,                                   is point, and users may feel we are
For example if you have logged into a website in your regular profile, and you want to experience the website without                 ,,                                   the cookie issue as a redirection.
                                                                                                                                       I\
log-in, you can open an incognito window and go to the website there.                                                                  \\ \
                                                                                                                                        '\
                                                                                                                                        \\ \
Incognito mode keeps the cookies that websites write in a separate jar (from that of your regular browsing session),                             \\

and throws them all away whenever you close all your incognito windows.




Incognito windows talk to each other
                                                                                                                                                                     ted [10]: Makes sense on the IP part I guess
Sometimes more than one window is more convenient to do a task, like when you are comparing two products on a                                                        st say that "combining IP with other data" can
                                                                                                                                                                    when it comes to things like your user agent,
website, to decide which one you like more. To make this possible, incognito windows that you have open at the same                                                ins/extensions you have installed, etc. That
                                                                                                                                                                  readily available to any webserver




  CONFIDENTIAL                                                                                                                                                       GOOG-CABR-04 780837. R
                      Case 4:20-cv-03664-YGR Document 1031-7 Filed 10/17/23 Page 3 of 5




time share data with each other. Therefore if you have some incognito window open, and sign-in to a website, and
open another one when the previous one is still open, the second one is also signed-in.

An entirely clean incognito session starts when you open an incognito window and there is no other incognito window
open. And the session ends when you close your last incognito window.




Incognito and History
To give you a more personalized experience, Chrome keeps a history of the websites you visit. This data helps Chrome
give you suggestions as you type in, give you better search results, gives you faster browsing experience, and more.

If you want to visit a website and you don't want it to be kept in your history, you can visit it in incognito mode. In
incognito mode, the browser does not keep your visited websites and will forget all about them when you close all
incognito windows and tabs.

You should note that this promise does not apply to what the websites that you visit do. While Chrome does not keep
history of what you do in incognito, the websites can keep a record of them on their own servers and remember it
later, or remember whatever you enter in their forms. This becomes more serious if you login to the website, read
more in the next section!




Incognito and Identity
When you open a new incognito session, any website that you visit will see you as a new user and won't know who
you are. But if you tell them who you are, like by signing-in with your username and password, they will know and they
can keep track of your activities from that moment on. It's like when you wear a mask, but you introduce yourself to
the others. Incognito mode cannot keep your identity secret in these cases, because you have clearly and directly
given that to the websites.




Incognito helps you fill forms, but doesn't keep anything
When you browse incognito, you have access to all your saved data in Chrome, such as addresses, credit cards,
passwords, etc for more convenience. But to make sure Chrome does not keep any trace of your activities, if you enter
a new address, or a credit card, or a password, Chrome will not save it for you. So incognito has access to your data,
but cannot change it.

Incognito can also use the history that Chrome has recorded from you to provide suggestions while you type, or
autocompletion, but does not contribute to it.




  CONFIDENTIAL                                                                                                            GOOG-CABR-04 780838. R
                       Case 4:20-cv-03664-YGR Document 1031-7 Filed 10/17/23 Page 4 of 5




Incognito and Browser Personalization
You can set up your browser to have a more fine-tuned experience. Like if you trust a website to always have access
to your camera, you can tell Chrome to always give permission to it. Or you can tell it to always let a certain website
show you notifications.

When you go to incognito, all these permissions are ignored and all websites are treated as privately as when you
have a new browser. An exception to this is when you add more restrictions for a website, like when you tell Chrome
to never let a website access your camera. In this case, incognito will also apply the more restricted preference.

Another exception to personalization reset is bookmarks. For convenience in accessing your frequently used
websites, your bookmarks are available in incognito mode, and if you add a bookmark in incognito mode, it will stay
there even when you close incognito.




Incognito and Network and Location
Computers and phones, and therefore browsers, can communicate with the internet only through your local network
(school, work, or whoever runs the network that you are using). Therefore all your browsing experience, regardless of
being incognito or not, will be partly visible by this network, and incognito mode cannot do anything with respect to
hiding your data from the network.

Also you must note that websites can guess where you (roughly) are based on your network address (IP), incognito
mode cannot hide that as well from the websites.




Incognito and Ads
Tired of ads following you, well, Incognito prevents ads from following you but there are some limits. When you start
a new incognito session, all the advertisers will see you as a new person. So any ad that has been following you before,
would have a hard time follow you in incognito mode 1. But, advertisers will see you as a new person in incognito mode
and until you close your last incognito window, they can follow you based on what they have seen from you in that
incognito session. This advantage is bilateral, the advertisers in websites that you are visiting in regular mode also
don't know about your activity in incognito mode. So if you see an ad in incognito mode, it would be hard for itto follow
you in regular mode.




1
 Incognito cannot entirely block them, because some advertisers may try to create a fingerprint of your device based on the
network and hardware information that they can get from it, and through that even follow you in incognito mode.




    CONFIDENTIAL                                                                                                              GOOG-CABR-04 780839. R
           Case 4:20-cv-03664-YGR Document 1031-7 Filed 10/17/23 Page 5 of 5




        Yes, an identifier assigned to that "user" across multiple visits of that website (using the same
        IP). Maybe what's missing here is a bridge between IP address and non-cookie website
        tracking. Incognito doesn't mask IP address, so websites can still track activity to the same user
        when they access the site, as you said in this sentence: "incognito mode cannot hide that as
        well from websites ... " Since IP addresses are often household-level, I feel we may be glossing
        over this point, and users may feel we are overindexing on the cookie issue as a redirection.

        While not completely perfect, and since websites talk to each other, it seems likely in the user's
        mind that there are lookup services - educated guesses that IP address x.y.z.zz is Ben Kamber
        based on my other traffic and authenticated Google searches. Couldn't IP (as imperfect and
        coarse as it is) then serve as a join key to link my incognito searches (which websites may
        discern given a lack of cookies) and authenticated searches? Apologies if this is a very obvious
        issue or if I'm misunderstanding.


        +rorymcclelland@google.com, +sammit@google.com

        IP can be used to join the authenticated and incognito sessions and we have a parallel effort to
        reduce this in incognito mode.
        But _as far as I know_ IP is not a trustable unique identifier and that's why some websites try to
        combine it with other fingerprinting approaches to create a stable detection method across
        signed-out visits and clearing browsing data.
        Therefore generally we can say that websites do not know who you are in incognito mode, but
        they can guess if they keep enough data.


        Makes sense on the IP part. I guess I would just say that "combining IP with other data" can be
        trivial when it comes to things like your user agent, the plugins/extensions you have installed,
        etc. That data is readily available to any webserver.

        IANAL, but from a legal perspective, we would never said that Google doesn't know who you
        are while you're Incognito, and I think saying websites don't know who you are is potentially
        misleading until you add all the caveats (e.g. you don't sign in, you close the browser, and
        somehow prevent the fingerprinting techniques to happen). The only promise we can make
        today is one about local privacy.

        Excited to be heading in that direction though so we can potentially make some stronger
        promises!




CONFIDENTIAL                                                                               GOOG-CABR-04 780840. R
